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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

AMY ELIZABETH BARNES,                     )
                                          )
                  Plaintiff,              )
                                          )
                                          )
v.                                        ) CIVIL ACTION
                                          )
PUBLIX SUPER MARKETS, INC., et            ) NO. 1:11-CV-3606-TCB
al.,                                      )
                                          )
                                          )
                  Defendants.             )
                                          )

                         NOTICE OF APPEARANCE

      Homer L. Deakins, Jr. hereby gives notice of his appearance as counsel of

record for Defendant Publix Super Markets, Inc. Mr. Deakins joins Mr. Eckard as

co-counsel for Defendant, and Mr. Eckard will remain lead counsel for Defendant.

      Respectfully submitted this 9th day of April 2013.


                                s/ Homer L. Deakins, Jr.
                                Homer L. Deakins, Jr.
                                Georgia Bar No. 214300
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                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send notification of the

filing to the following pro se plaintiff:

                                Amy Elizabeth Barnes
                                   Plaintiff Pro Se
                               886 Wanda Circle, S.W.
                               Marietta, Georgia 30008

This 9th day of April 2013.

                                    s/Homer L. Deakins, Jr.




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